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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

          SEATTLE BANK,                            §
                                                   §
          Plaintiff,                               §
                                                   §
          v.                                       §      Civil Action No. 3:22-cv-00140-KC
                                                   §
          NORA G. RAMOS,                           §
                                                   §
          Defendant.                               §
                                                   §

    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff Seattle Bank (“Plaintiff”) filed this Notice of Voluntary Dismissal Without

Prejudice as to Defendant Nora G. Ramos (“Notice”) pursuant to Rule 41 of the Federal Rules of

Civil Procedure, and shows the Court as follows:

          1.     On April 26, 2022, Plaintiff filed its Original Complaint (“Complaint”) against

Defendant Nora G. Ramos (“Defendant”) to obtain an order authorizing foreclosure of Plaintiff’s

security interest on the real property located at 305 Olivia Circle, El Paso, Texas 79912. (ECF

No. 1.)

          2.     The defendant has not answered or otherwise appeared in this action.

          3.     Plaintiff no longer wishes to pursue this claim for foreclosure against Defendant.

Accordingly, it files this Notice, pursuant to Rule 41 (a)(1)(A)(i) of the Federal Rules of Civil

Procedure. Plaintiff files this Notice before Defendant filed an answer or motion for summary

judgment. As such, Plaintiff voluntarily dismisses the claims it has asserted herein against

Defendant Nora G. Ramos without prejudice to the re-filing of the same.

          4.     This dismissal will finally dispose of all parties and all claims. Defendant will not

be prejudiced by this voluntary dismissal.


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                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the

Plaintiff’s claims against Defendant Nora G. Ramos be dismissed without prejudice, that no

prejudice attach to such dismissal, and that Plaintiff be awarded all other relief to which Plaintiff

may be entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Mark D. Cronenwett
                                                      MARK D. CRONENWETT
                                                      Texas Bar No. 00787303
                                                      mcronenwett@mwzmlaw.com

                                                     MACKIE WOLF ZIENTZ & MANN, P.C.
                                                     14160 N. Dallas Parkway, Suite 900
                                                     Dallas, Texas 75254
                                                     214-635-2650 (Phone)
                                                     214-635-2686 (Fax)

                                                     ATTORNEYS FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on
July 27, 2022 as stated below on the following:

       Via U.S. Mail
       Nora G. Ramos
       402 San Saba
       El Paso, Texas 79912



                                                        /s/ Mark D. Cronenwett
                                                        MARK D. CRONENWETT




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